                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 COMMONWEALTH OF
 PENNSYLVANIA, acting by and
 through Philadelphia District Attorney
 Lawrence S. Krasner,                                  CIVIL ACTION
                                                       NO. 24-5823
                            Plaintiff,
        v.

 ELON MUSK and AMERICA PAC,

                            Defendants.


                                          ORDER

       AND NOW, this 1st day of November 2024, upon consideration of Defendants

Elon Musk and America PAC’s Motions for Pro Hac Vice (ECF 5 and 6), it is hereby

ORDERED that the Applications of Christopher K. Gober and William Andrew Taylor

are GRANTED. 1



                                                   BY THE COURT:


                                                   _____________________________
                                                   Gerald J. Pappert, J.




1 Counsel is directed to the United States District Court for the Eastern District of

Pennsylvania’s website to register for NextGen CM/ECF in the Eastern District.
https://www.paed.uscourts.gov/nextgen-cmecf
